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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------------X
  JUAN CARLOS INTERIANO, Individually, and
  JUAN CARLOS INTERIANO, as assignee of ALL-                               Case No. 23-cv-238-PKC-AYS
  BORO REHAB CONSTRUCTION CORP., ALL
  BORO GROUP, LLC and ALL-BORO
  CONSTRUCTION GROUP, INC.,

                                                Plaintiffs,

                    - against -

  ARCH SPECIALTY INSURANCE COMPANY,

                                                 Defendants.
  ---------------------------------------------------------------------X




        MEMORANDUM OF LAW IN REPLY TO DEFENDANT’S OPPOSITION TO,
             AND IN FURTHER SUPPORT OF, PLAINTIFF’S MOTION
              TO DISQUALIFY DEFENDANT’S CURRENT COUNSEL




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                                             ARGUMENT

         Simply put, the opposition of DAC Beachcroft (“Beachcroft”), while insistent, does not

 rebut the presumption of its imputed conflict of interest. Despite their effort, including five separate

 attorney declarations as well as the deeply unfortunate weaponization of Plaintiff’s counsel’s

 personal tragedy, Beachcroft has only underscored the need for its disqualification.

   I.    BEACHCROFT’S SCREENING MEASURES ARE INSUFFICIENT TO REBUT
         THE PRESUMPTION OF CONFLICT

         Beachcroft suggests that it undertook prompt, effective efforts to prevent the disclosure of

 privileged information in accordance with all applicable rules and best practices. But a close

 reading Beachcroft’s papers demonstrates quite the opposite. Despite being fully alerted to the

 impending conflict that would result from the merger of Vogrin & Frimet (“V&F”) and the

 attorneys representing Arch from Robinson, Cole (the “RC attorneys”) into Beachcroft, discussed

 by well before the merger, by all accounts Beachcroft took no action to implement proper screening

 procedures until January 22, 2025, three weeks after formal completion of the merger, and even

 then only in response to Plaintiff’s January 15, 2025, letter requesting that Beachcroft withdraw

 its representation of Defendant Arch. This and other facts revealed in Beachcroft’s opposition

 demonstrate a pattern of after-the-fact damage control, a far cry from the intentional, pre-emptive

 screening procedures that one would expect from a purportedly sophisticated firm with full

 knowledge of an impending conflict.

     A. DACB’s Tardy “Screening” Email Fails to Satisfy, Even in the “Post-COVID World”

         At the outset, Beachcroft now claims that the ethical guidelines set forth in the ABA and

 NYRPC are “irrelevant” to the instant motion, (Beachcroft Memorandum of Law (“Beachcroft

 MOL”, pp. 1-2), but this assertion flies in the face of the very legal precedent on which Beachcroft

 purports to rely. While it is true that those rules are not binding on this Court, they offer recognized



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 guidance and certainly warrant consideration by Courts involved in making determinations such

 as this. See, Hempstead Video, Inc. v. Incorporated Village of Valley Stream, 409 F.3d 127, 132 (2d

 Cir. 2005) (noting that decisions on disqualification “often benefit from guidance offered by the

 American Bar Association (ABA) and state disciplinary rules”). And Plaintiff invokes those rules

 precisely for the guidance they provide in determining whether Beachcroft’s conduct was sufficient

 to alleviate the taint inherent in former counsel for the Plaintiff working together with Arch’s

 current counsel in the very same case. Even a cursory review of Beachcroft’s opposition reveals

 that its efforts fall far short of sufficient.

         Contrary to Beachcroft’s assertions, COVID did not alter the application of those rules, or

 for that matter virtually eliminate the potential for conflict among lawyers in the same office

 simply due to the fact that some attorneys are now free to work from home sometimes instead of

 working in the office five days a week. And the notion that the V&F and RC attorneys will have

 minimal interaction defies common sense. Even assuming lower attendance in their office, a

 dubious assumption at this point, surely those attorneys have and will continue to interact while

 working together on cases, not to mention at partner meetings, at firm outings and at client

 presentations. And again, all six of the V&F and RC attorneys work out of a small single office in

 downtown Manhattan. This is decidedly not a situation in which one set of attorneys work in the

 New York office while the others work in London.

         Beachcroft’s attempt to minimize the potential for breaching confidences flies in the face

 not only of common sense, but also the evidence Beachcroft itself presented that admits of some

 degree of interaction. See Klein Declaration, ¶¶ 6-7 and Mandel Declaration, ¶¶10-11 (admitting

 to working from V&F’s office during construction and then “occasionally” from Beachcroft’s New

 York office upon its completion).




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        Not only was Beachcroft’s late screening email too little too late, at no point does

 Beachcroft address the question of compensation and fee sharing raised in Plaintiff’s motion.

 Beachcroft’s January 22, 2025, email certainly did not do so, nor do Beachcroft’s opposition papers

 herein. Given Beachcroft’s silence, this Court should assume that George Vogrin and Mike Frimet,

 both now partners at Beachcroft, do indeed stand to benefit from the legal fees collected from Arch

 in this matter. They are thus incentivized to act against their former client’s interests, as the fees

 collected from Arch, and thus the continued success of that representation and Arch’s satisfaction

 as a client, stand to benefit them directly. This profit incentive further underscores the significant

 degree to which Plaintiff’s interests are at risk should Beachcroft continue to represent Arch in this

 specific matter.

    B. The Absence of Declarations from any of the Former V&F Attorneys Also Speaks to
       Beachcroft’s Ongoing Conflict

        In opposition, Beachcroft presents five Declarations from self-interested Beachcroft

 attorneys who clearly want their firm to retain the case. But the conspicuous absence of

 Declarations from the former V&F attorneys again highlights the conflict. The former V&F

 attorneys are no doubt in a difficult position at their new firm – the Declaration of Patrick

 Firebrace, Beachcroft’s International Development Director, indicates that Beachcroft’s upper

 management in London is intent on undertaking every effort to retain this case. One can fairly

 surmise that the former V&F attorneys are under pressure to remain silent, leaving this Court to

 wonder whether they have information relevant to this motion and whether that information might

 support Plaintiff’s position herein.

        Indeed, it appears that Plaintiff’s former counsel may be forced to choose between

 supporting his former client at the risk of harming his standing at his new firm or supporting his

 new firm in direct opposition to the interests of his former client. Plaintiff’s former counsel’s



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 silence is an unsatisfying and problematic outcome of their unenviable, and entirely avoidable,

 position.

    C. Beachcroft’s Chronology of Events is Inaccurate and Deceptive

        Perhaps in an effort to distract from its own failure to promptly enact any formal screening

 mechanisms until after Plaintiff demanded its withdrawal, Beachcroft takes immense liberties in

 reciting the relevant procedural history. From conflating active investigation and good faith

 communication in compliance with this Court’s rules with undue delay, to invoking Plaintiff’s

 counsel’s reliance on professional courtesy during a personal tragedy as supposed evidence of

 gamesmanship, Beachcroft has gone beyond the pale in a desperate attempt to retain this case.

 Several of these arguments warrant specific rebuttal.

        Even were Beachcroft’s screening efforts sufficient, and they were not (see above),

 nowhere in Beachcroft’s opposition is any attempt to explain why Beachcroft undertook no effort

 whatsoever to enact those screens until a week after Plaintiff’s formal demand to withdraw. By

 their own admission, Beachcroft was fully aware of the conflict well before V&F’s withdrawal

 from the case. Indeed, per his Declaration, Lawrence Klein discussed the issue of conflict as far

 back as September 2024. Klein Declaration, ¶ 4. Yet Beachcroft took no action to protect against

 the potential taint until the email dated January 22, 2025. Klein Declaration, ¶ 8.

        Meanwhile, Beachcroft’s numerous efforts to paint Plaintiff as unconcerned over the

 conflict issue should be seen for what they are: transparent efforts to distract this Court from

 Beachcroft’s failure to comply with industry standard screening procedures despite full knowledge

 of the conflict well before it came to pass.

        To begin, Beachcroft suggests that Plaintiff could not have been overly concerned with the

 issue of conflict because it was not raised at the January 21, 2025, pre-motion conference regarding

 Defendants’ proposed motion to dismiss. Beachcroft MOL, p. 6. But, as Beachcroft goes on to


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 admit, the parties were in the midst of a meet and confer period at the time, and Beachcroft had

 not even provided a formal response to Plaintiff’s initial demand letter of January 15 at the time

 of that virtual appearance. Id.

         That Plaintiff refrained from raising an issue unrelated to the pre-motion conference1, an

 issue that, so far as Plaintiff was aware, the parties were actively hoping to resolve on consent,

 does not remotely indicate disinterest in the conflict. And Plaintiff did raise the issue at the

 following conference, even though the parties were still in good faith communication and it was

 not yet clear whether motion practice would be necessary. To call Plaintiff’s adherence to this

 Court’s Individual Rules and the general practice of engaging in good faith communication before

 resorting to Court involvement or motion practice is disingenuous at best.

          More concerning, and quite troubling, is Beachcroft’s attempt to use a personal tragedy as

 a cudgel in these proceedings. Beachcroft proposes that it is further evidence of inconsistency that,

 after the January 15, 2025, letter demanding that Beachcroft withdraw from representation

 “Plaintiff’s counsel was happy for DACB to prepare and file a joint letter requesting an extension

 of discovery…” Beachcroft MOL, p. 6. But even setting aside the odious exploitation of counsel’s

 personal tragedy, it doesn’t logically follow that permitting Beachcroft to draft a simple letter to

 the Court regarding scheduling is tantamount to an abandonment of Plaintiff’s concerns about its

 conflicted representation. The argument is as empty as it is offensive, and another example of

 Beachcroft’s willingness to say virtually anything in its desperate attempt to maintain its conflicted

 representation of Arch. See Affirmation of H. Nicholas Goodman (“Goodman Aff.”), ¶¶ 3-4.




 1
  After its motion to dismiss was denied as to All-Boro Rehab Construction Corp., (Dkt. # 23), Arch sought permission
 to move to dismiss Plaintiff’s Third Cause of Action breach of the covenant of good faith and fair dealing. The
 conference apparently convinced defense counsel to abandon that dubious effort. See Dkt. # 53.


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         Beachcroft goes on to argue that Plaintiff’s delay in filing the instant motion is evidence

 that Plaintiff does not care about the conflict is still more misguided distraction. But in doing so

 Beachcroft again egregiously misrepresents the timeline of events, asserting the following:

         Plaintiff also failed to diligently seek to protect his interests. Specifically, Plaintiff:
         (1) waited more than one month – from January 15 to February 17 – to inform the
         Court he might seek to disqualify DACB; (2) waited another 25 days – from
         February 10 to March 15 – to confirm he would; and then (3) took yet another 39
         days – from March 15 to April 23 – to formally request permission to do so.

 Beachcroft MOL, p. 20, (emphasis in original).

         The true timeline is as follows:

         •    On January 15, 2025, having learned that the former RC attorneys, now at
              Beachcroft, intended to continue representing Arch herein despite the obvious
              conflict, Plaintiff timely demanded Beachcroft’s withdrawal. Exhibit “A.”

         •    On January 22, 2025, Beachcroft responded to Plaintiff’s letter. Exhibit “B.”

         •    On January 25, 2025, Plaintiff’s handling attorney suffered a sudden,
              unexpected, and immense personal loss, resulting in significant delays across
              all matters in which this two attorney firm has appeared as counsel. Goodman
              Aff., ¶ 3.

         •    On February 18, 2025, Plaintiff informed the Court of the ongoing conflict
              dispute, and the fact that motion practice might be necessary.

         •    From February 18 through March 15, 2025, the undersigned undertook to
              analyzed Beachcroft’s response to Plaintiff’s demand to withdraw, conducted
              research, and met with Plaintiff himself to discuss how he would like to
              proceed. Goodman Aff., ¶ 8.

         •    On March 15, 2025, having confirmed Plaintiff’s strong desire to pursue the
              relief requested herein, the parties filed a joint letter to the Court advising that,
              having met and conferred in good faith, the parties were unable to resolve the
              conflict issue and that Plaintiff intended to move for the relief requested herein.
              Dkt. # 56.

         •    On March 27, 2025, Plaintiff’s counsel requested a pre-motion conference.2
              Dkt. # 57.


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  This request was made in error due to counsel’s unintentional conflation of the Individual Rules of Judge Chen and
 Magistrate Judge Shields.


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        •   On March 31, 2025, Magistrate Judge Shields denied Plaintiff’s request for a
            pre-motion conference and directed Plaintiff to seek leave to move in
            compliance with Judge Chen’s Individual Rules.

        •   On April 1, 2025, Plaintiff’s counsel reached out to Beachcroft and began to
            negotiated a proposed briefing schedule for Plaintiff’s anticipated motion in
            compliance with Judge Chen’s Individual Practices and Rules, Section 3(C).

        •   On April 15, 2025, having met and conferred with Beachcroft and arrived at a
            mutually agreeable briefing schedule, Plaintiff filed a Proposed Scheduling
            Order regarding same, (Dkt. # 58), which proposed order was again rejected as
            procedurally improper by Magistrate Judge Shields by Order dated April 21,
            2025.

        •   On April 22, 2025, Plaintiff’s counsel filed a letter application for leave to file
            its motion to disqualify Defendant’s counsel and a proposed briefing schedule,
            which motion was granted with modifications by Order dated April 23, 2025.

        Based on the foregoing, Beachcroft’s claim that “Plaintiff took more than 90 days” from

 learning of the conflict to seeking permission to move” is not only inaccurate, it is intentionally

 deceptive. Of those 90 days, at least one month was spent meeting and conferring with opposing

 counsel in good faith, including written correspondence and telephone conferences.

 Approximately two weeks were spent in research and communication between counsel and

 Plaintiff regarding the need for, and viability of, motion practice in light of Beachcroft’s refusal to

 voluntarily withdraw. And of the “39 days” Plaintiff took to formally request leave to move, 27 of

 those days are attributable to counsel’s honest mistake and procedural errors in attempting to obtain

 leave to move, albeit from Magistrate Shields instead of Your Honor, and decidedly not, as

 Beachcroft would have this Court believe, as part of some insidious effort to delay proceedings.

        As to Beachcroft’s final and equally disingenuous argument that “Plaintiff apparently knew

 as far back as September 2024 that V&F would have to withdraw from representing him because

 V&F’s attorneys were joining DACB,” and thus was even more unreasonable in his delay in

 moving to protect his interests, the explanation is obvious: until Beachcroft served its Notice of

 Change of Firm, Address, and Contact Information on January 8, 2025, Plaintiff’s counsel


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 reasonably believed that Arch would also retain new counsel in light of the mutual conflict of

 interest arising from the Beachcroft merger. Goodman Aff., ¶ 8. The fallacy of this expectation

 was only revealed on January 8, 2025, at which point Plaintiff promptly demanded that Beachcroft

 withdraw by letter dated only one week later. Exhibit “A.” After all, Plaintiff could not have moved

 to disqualify Beachcroft until Beachcroft officially became Arch’s counsel of record.

         Thus, when accurately viewed through an undistorted lens, Plaintiff obviously took diligent

 efforts to protect his interests regarding the conflict at issue, and any delay in moving to safeguard

 those rights is attributable not to ill intent but to the good faith belief that such motion practice

 would not be required, or to the unfortunate timing of counsel’s own bereavement in the midst of

 proceedings.

    D. Beachcroft’s Argument That The Former V&F Attorneys Have No Relevant
       Confidences That Might Be Disclosed Fails To Appreciate The Nature Of Attorney-
       Client Relations

         Beachcroft argues that “any confidences Plaintiff might have shared with his former

 attorneys at V&F have no bearing” on the dispositive issues involved in this litigation. Beachcroft

 MOL, p. 9. As a first, and very obvious, point, Beachcroft does not and cannot know what

 confidences were exchanged between V&F and Plaintiff himself, or between V&F and this firm

 as incoming counsel, and is thus in no position to opine as to whether those confidences might

 bear on dispositive issues. But more to the point, this case, like any other, involves more than just

 the legal issues at play – there are procedural and strategic aspects, not to mention valuation,

 counsel’s estimation of the likelihood of success and Plaintiff’s desire or need to settle. All of those

 elements were certainly part of V&F’s representation of Plaintiff that is now at risk of disclosure

 by virtue of Beachcroft’s continued conflicted representation of Arch. Beachcroft’s failure to

 recognize same, if not intentional, reveals a jaundiced view of attorney-client relations, perhaps

 borne of careers representing large institution/insurance clients.


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    E. Beachcroft’s Notion That Plaintiff’s Motion Is A Plot To Increase the Value Of This
       Case Makes No Sense

        Beachcroft’s argument that the instant motion “appears to have been filed simply to delay

 the resolution of this lawsuit” and as a tactic “aimed at driving up Plaintiff’s alleged damages”

 defies logic and common sense. Beachcroft MOL, p. 16. Just how delay would work to Plaintiff’s

 advantage by increasing the value of the case is a mystery. While Plaintiff is glad to hear that

 Defendant recognizes the case has a value and that that value is increasing, he is at a loss to explain

 how that could be so. But this addition to Beachcroft’s kitchen sink approach only underscores its

 lack of substantive argument.

                                           CONCLUSION

        For all the reasons set forth above, in the Affirmation of H. Nicholas Goodman dated June

 16, 2025, submitted herewith, and in Plaintiff’s motion papers in chief, Plaintiff respectfully

 requests that this Court issue an Order disqualifying DAC Beachcroft LLP from continuing to

 represent Defendant Arch Specialty Insurance Company in this matter and staying proceedings

 herein for thirty (30) days to permit Defendant to retain new counsel, together with such other and

 further relief as to this Court seems just and proper.

 Dated: New York, New York
        June 16, 2025
                                           NICHOLAS GOODMAN & ASSOCIATES, PLLC


                                         BY: ________________________________________
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